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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                   CASE NO. 1:89-cr-01018-MP

LUIS LAZARO VIERA,

      Defendant.
___________________________/

                                            ORDER

          This matter is before the Court on Doc. 1213, Second Motion for (2) Certified Copies of

Docket Sheet and Copy of Presentence Investigation Report at Government Expense, filed by

Luis Lazaro Viera. Mr. Viera currently has no pending matters before the Court, and has

exhausted all avenues of appellate and collateral relief. See Order at 1210 and Order at doc.

1194, Eleventh Circuit order denying application for leave to file a second or successive § 2255

motion as to Luis Lazaro Viera. Accordingly, his motion for certified copies, doc. 1213, is

denied.

          DONE AND ORDERED this 27th            day of April, 2006


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
